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 " AD 472 (Rev. 3186) Order ofDetention Pending Trial


                                        UNITED STATES DISTRICT COURT
                                                                     District of                                   Nebraska
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          UNITED STATES OF AMERICA
                               V.                                                  ORDER OF DETENTION PE.teE,f~E CLJ:RK
                      MYTANCAO                                                 Case Number: 4:10CRJ052                                                    . . ~   .
                          Defendant
     In accordance with the Bail Reform Act, 18 U.S.C. § 3 I 42(f), a detention hearing has been held. I conclude that the following facts require the
 detention ofthe defendant pending trial in this case.
                                                               Part I-Findings of Faet
 o (I) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted ofa 0 federal offense 0 state
       or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed that is
       o a crime ofviolence as defined in 18 U.S.C. § 3IS6(a)(4).
       o an offense for which the maximum sentence is life imprisonment or death.
       o an offense for which a maximum term of imprisonment often years or more is prescribed in
                                                                                                                                                  ••
       o a felony that was committed after the defendant had been convicted oftwo or more prior federal offenses described in 18 U.S.C.
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            § 3142(f)(I)(A)-(C), or comparable state or local offenses.
 o (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
 o (3) A period of not more than five years has elapsed since the 0 date of conviction Drelease ofthe defendant from imprisonment
          for the offense described in finding (1).
 o (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
          safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                 Alternative Findings (A)
 J(   (1) There is probable cause to believe that the defendant has committed an offense
          X for which a maximum term of imprisonment often years or more is prescribed in 21 U.S.C. Sec. 801 et seq.
          o under 18 U.S.C. § 924(c).
 X    (2) The defendant has not rebutted the presumption established by finding I that no condition or combination ofconditions will reasonably assure
          the appearance of the defendant as required and the safety ofthe community.


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                                                                 Alternative Findings (8)
      (1) There is a serious risk that the defendant will not appear.
. 0   (2) There is a serious risk that the defendant will endanger the safety ofanother person or the community.




                                              Part II-Written Statement of Reasons for D)ttetion
     I find that the credible testimony and information submitted at the hearing establishes by           clear and convincing evidence     0 a prepon­
 derance of the evidence that
                                                                                                                     ,(/ ,
                                                                                                                      " ,c..,




                                                      Part III-Directions Regarding Detention
      The defendant is committed to the custody ofthe Attorney General or his designated representative for confinement in Ii corrections facility separate,
 to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
 reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
 Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose ofan appearance
 in connection with a court proceeding.

                  July 16,2010                                                            sI Cheryl R. Zwart
                      Date                                                             Signature ofJudicial OffICer
                                                                                  Cheryl R. Zwart, U.S. Magistrate Judge
                                                                                    Name and Title ofJudicial Officer
 ·Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
 et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
